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 1   LOREN S. YOUNG, ESQ.
     Nevada Bar No. 7567
 2   CAROLINE ROSKE REILLY, ESQ.
     Nevada Bar No. 13236
 3   LINCOLN, GUSTAFSON & CERCOS, LLP
     ATTORNEYS AT LAW
 4   3960 Howard Hughes Parkway, Suite 200
     Las Vegas, Nevada 89169
 5   Telephone: (702) 257-1997
     Facsimile: (702) 257-2203
 6   lyoung@lgclawoffice.com
     creilly@lgclawoffice.com
 7
     Attorneys for Defendant, TARGET CORPORATION
 8

 9

10                                  UNITED STATES DISTRICT COURT

11                                         DISTRICT OF NEVADA

12
     PATRIC LAMB,                                          CASE NO.: 2:20-cv-00514-GMN-VCF
13
             Plaintiff,
14                                                         STIPULATION AND ORDER TO
                                                           EXTEND DISCOVERY DEADLINES
15   v.
                                                           (First Request)
16

17   TARGET CORPORATION, a Foreign
     Corporation; DOES 1-20, and ROE BUSINESS
18   ENTITIES 1-20,

19           Defendants.

20

21           Plaintiff, PATRIC LAMB, by and through his attorney of record, RICHARD HARRIS,

22   ESQ., CHARLES S. JACKSON, ESQ. of the RICHARD HARRIS LAW FIRM; and Defendant,

23   TARGET CORPORATION, by and through its attorneys of record, LOREN S. YOUNG,

24   ESQ., and CAROLINE R. REILLY, ESQ. of the law firm LINCOLN, GUSTAFSON &

25   CERCOS, LLP, hereby stipulate and request that the Court extend the discovery and dispositive

26   motion deadlines by approximately one hundred and twenty (120) days. This extension is not sought

27   for the purpose of delay or for any other untoward purpose. This stipulation is based on the fact that

28   additional time is necessary to conduct discovery; the majority of which relates to the COVID-19



                                                       1
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 1   directives. This is the parties’ first request1 to extend any discovery and dispositive motion deadlines

 2   in this matter.

 3          Pursuant to Local Rule 26-4, the parties state as follows:

 4          I.       DISCOVERY COMPLETED TO DATE

 5                       a. The parties conducted the Fed. R. Civ. P. 26(f) conference.

 6                       b. The parties have exchanged initial disclosures of documents and lists of witnesses

 7                            and supplements thereto.

 8                       c. Defendant has propounded requests for production of documents and interrogatories

 9                            on Plaintiff. Plaintiff has responded to these requests.

10                       d. Plaintiff has propounded requests for production of documents, requests for

11                            admission, and interrogatories on Defendant. Defendant has responded to these

12                            requests.

13                       e. Plaintiff has served his First Supplemental Disclosure of Witnesses and Documents

14                            pursuant to FRCP 26.

15                       f. Plaintiff has served his Second Supplemental Disclosure of Witnesses and

16                            Documents pursuant to FRCP 26.

17                       g. Plaintiff has served his Third Supplemental Disclosure of Witnesses and Documents

18                            pursuant to FRCP 26.

19                       h. Target has served its First Supplement to its Disclosures Pursuant to FRCP 26(a)(1).

20                       i. Target has served its Second Supplement to its Disclosures Pursuant to FRCP

21                            26(a)(1).

22                       j. Target has served its Third Supplement to its Disclosures Pursuant to FRCP

23                            26(a)(1).

24                       k. Target disclosed Dr. Timothy Sutherland as an expert witness. Dr. Sutherland could

25                            not provide complete opinions because of the lack of pre-accident records and lack

26                            of SSD records. The lockdowns and closings related to the COVID-19 pandemic

27

28   1
         Target inadvertently filed a stipulation regarding discovery (ECF No. 12) as a stipulation for extension of time.
                                           2
             STIPULATION AND ORDER TO EXTEND DISCOVERY DEADLINES (1 st Request)
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 1                         have created a situation where obtaining records is difficult, if not near impossible,

 2                         especially government records.

 3                    l. Target has subpoenaed documents from the US Social Security Administration.

 4                    m. Target set the deposition of Plaintiff for October 28, 2020.

 5      II.       DISCOVERY TO BE COMPLETED

 6                    a.   Deposition of Plaintiff and medical examination pursuant to FRCP 35.

 7                    b.   Deposition of Rule 30(b)(6) designee(s) of TARGET.

 8                    c.   Depositions of Plaintiff’s treating physicians.

 9                    d.   Disclosure of expert witnesses and rebuttal.

10                    e. Depositions of fact witnesses.

11                    f. Depositions of expert witnesses.

12                    g. Additional written discovery.

13                    h. Supplemental responses to written discovery.

14                    i. Other discovery as necessary.

15             The above list is made without prejudice to the parties’ ability to conduct additional discovery

16   consistent with the Federal Rules of Civil Procedure.

17      III.      REASONS WHY THE DEADLINES WERE NOT AND CANNOT BE COMPLETED
18                WITHIN THE CURRENT SCHEDULE
               As evidenced by the foregoing, the necessary discovery has commenced. Pursuant to Local
19
     Rule 26-4, the parties submit they have excusable neglect to extend the initial expert disclosure deadline
20
     as the parties have experienced severe delays due to the COVID-19 pandemic. The lockdowns and
21
     closings related to the COVID-19 pandemic have created a situation where obtaining records is
22
     difficult, if not near impossible, especially governmental records. Until such time that both parties have
23
     received Plaintiff’s complete medical and disability records, the parties’ experts cannot conduct a
24
     complete medical records review and/or a Rule 35 medical examination and prepare expert reports.
25
     Consequently, additional time is necessary in order to complete the parties’ expert disclosures and
26
     remaining discovery. Furthermore, given the current restriction on travel and/or personal contact
27
     necessitated by the COVID-19 pandemic, it is anticipated that most of the remaining discovery will not
28
                                       3
         STIPULATION AND ORDER TO EXTEND DISCOVERY DEADLINES (1 st Request)
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 1   reasonably be able to occur for several months. Specifically, the variation of stay at home orders from

 2   state to state has frustrated travel in conducting certain fact witness depositions, party depositions, and

 3   Rule 35 examinations.

 4                 The parties have also met and conferred regarding Plaintiff’s social security disability records

 5   and Plaintiff has agreed to provide Target with the SSA Consent for Release of Information Form. The

 6   parties agree that this request is not made for the purpose of delay, but to ensure a just adjudication of

 7   the case on the merits, and that neither party will be prejudiced by the requested extension.

 8          IV.           PROPOSED SCHEDULE

 9                 WHEREFORE, the parties respectfully request that this Court extend discovery deadlines as

10   follows:

11                      EVENT                                                 CURRENT DEADLINE           PROPOSED DEADLINE
12               Discovery Deadline                                               12/04/2020                  04/05/2021
               Initial Expert Disclosure                                          10/05/2020                  02/02/2021
13            Rebuttal Expert Disclosure                                          11/04/2020                  03/04/2021
                 Dispositive Motions                                              01/04/2021                  05/04/2021
14                   Pretrial Order                                               02/03/2021                  06/03/2021
15
     DATED this 13th day of October, 2020.                                              DATED this 13th day of October, 2020.
16
     RICHARD HARRIS LAW FIRM                                                            LINCOLN, GUSTAFSON & CERCOS, LLP
17                                                                                                                              If dispositive motions
                                                                                                                                are filed, the deadline
      /s/ Charles S. Jackson                                                            /s/ Caroline R. Reilly                  for filing the joint
18
     __________________________                                                         ____________________________            pretrial order will be
                                                                                                                                suspended until 30 days
19   CHARLES S. JACKSON, ESQ.                                                           LOREN S. YOUNG, ESQ.                    after decision on the
     Nevada Bar No. 13158                                                               Nevada Bar No. 7567                     dispositive motions or
                                                                                                                                further court order.
20   801 S. Fourth Street                                                               CAROLINE ROSKE REILLY, ESQ.
     Las Vegas, Nevada 89101                                                            Nevada Bar No. 13236
21   Attorneys for Plaintiff                                                            3960 Howard Hughes Parkway, Suite 200
                                                                                        Las Vegas, NV 89169
22
                                                                                        Attorneys for Defendant
23

24
                                                                                      IT IS SO ORDERED
25

26                                                                                    ________________________________
                                                                                      United States Magistrate Judge
27
                                                                                      Dated:__________________________
                                                                                       Dated the 16th day of October, 2020.
     v:\k-o\lamb_target\atty notes\drafts\pldgs\20201013_SAO Extend (1 st)_crr.docx
28
                                           4
             STIPULATION AND ORDER TO EXTEND DISCOVERY DEADLINES (1 st Request)
